                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 IN RE:                                             )
                                                    ) Case No. 19-82716-CRJ11
 RUNNIN L FARMS, LLC,                               )
                                                    ) Chapter 11
                     Debtor.                        )



                     MOTION FOR RELIEF FROM STAY, OR, IN THE
                     ALTERNATIVE, FOR ADEQUATE PROTECTION

        Falcon Leasing, a division of Falcon National Bank (“Falcon”), a secured creditor and

 party-in-interest in the above-styled bankruptcy case of Runnin L Farms, LLC (“Debtor”), moves

 the Court for relief from the automatic stay pursuant to 11 U.S.C. § 362, or, in the alternative, for

 an order granting Falcon adequate protection pursuant to 11 U.S.C. § 361. In support of this

 motion (the “Motion”), Falcon states as follows:

                                         INTRODUCTION

        1.      The Court has jurisdiction over the Motion pursuant to 28 U.S.C. § 1334(b). This

 matter is a core proceeding under 28 U.S.C. § 157(b).

        2.      Venue of this matter is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory predicates for the requested relief are §§ 361 and 362 of the

 Bankruptcy Code.

                                         BACKGROUND

        1.      Pursuant to an Equipment Finance Agreement dated May 2, 2018 (the

 “Agreement”), Falcon financed the Debtor’s purchase of that certain 2017 Timpte

 42”2”x102”x78” Super Hopper Trailer, Vehicle Identification Number 1TDH42225HB157024

 (the “Trailer”). A true and correct copy of the Agreement is attached hereto as Exhibit A.



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         2.      The Agreement provides for, among other things, the Debtor’s payment of monthly

 installments in the amount of $787.02 and the Debtor’s maintenance of insurance on the Trailer

 naming Falcon as the loss payee.

         3.      As security for the Debtor’s obligations under the Agreement, the Debtor granted

 Falcon a first priority security interest in the Trailer, as evidenced by the certificate of title attached

 hereto as Exhibit B.

         4.      On September 9, 2019, (the “Petition Date”), the Debtor filed a voluntary petition

 under chapter 11 of the Bankruptcy Code. Debtor continues to operate its business as a debtor-in-

 possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

         5.      The Debtor has failed to make the required monthly payments following the

 Petition Date, which failure constitutes a default under the terms of the Agreement. The current

 past due amount is $3,148.08, exclusive of late fees totaling $597.75. The outstanding balance

 under the Agreement totals $28,143.45, exclusive of attorney’s fees associated with this Motion,

 as allowed under the Agreement.

                                              ARGUMENT

         6.      This Court should grant Falcon relief from stay to enforce its rights under applicable

 law with respect to the Agreement and the Trailer, or, in the alternative, order the Debtor to make

 adequate protection payments to Falcon.

         7.      Section 362(d)(1) of the Bankruptcy Code provides that a bankruptcy court shall

 grant relief from stay “for cause, including the lack of adequate protection of an interest in

 property.” 11 U.S.C. § 362(d)(1).

         8.      Section 362(d)(2) of the Bankruptcy Code provides that a bankruptcy court shall

 grant relief from stay of an act against property under Section 362(a) where the debtor does not




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 have any equity in such property and such property is not necessary to an effective reorganization.

 11 U.S.C. § 362(d)(2).

        9.      Section 361 of the Bankruptcy Code provides that when adequate protection is

 required under Section 362, 363, or 364 of an interest of an entity in property, such adequate

 protection may be provided by, without limitation, periodic cash payments to the extent of the

 decrease in value of the entity’s interest in such property.

        10.     Cause exists for relief from stay because the Trailer is depreciating and Falcon is

 not receiving the required monthly payments under the Agreement.

        11.     Likewise, on information and belief, the Debtor does not have any equity in the

 Trailer, and the trailer is not necessary for an effective reorganization.

        12.     Accordingly, Falcon is entitled to relief from the automatic stay pursuant to Section

 362 of the Bankruptcy Code or for adequate protection pursuant to Section 361 of the Bankruptcy

 Code and is further entitled to pursue its various rights and remedies under the Agreement and

 with respect to the Trailer as provided by applicable law.

        13.     Falcon further requests that the Court waive the stay provided for under Rule

 4001(a)(3) of the Federal Rules of Bankruptcy Procedure so that Falcon may immediately exercise

 its rights and remedies with respect to the Trailer.

        WHEREFORE, Falcon respectfully requests that the Court enter an order: a) granting

 Falcon relief from stay to exercise its rights under the Agreement and with respect to the Trailer,

 or, in the alternative, requiring periodic adequate protection payments; b) waiving the 14-day stay

 imposed under Rule 4001(a)(3); and c) granting such other and further relief as the Court deems

 just and appropriate.




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                                       CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing has been served by electronic filing
 purposes and/or by United States mail, postage prepaid on this the 13th day of November, 2019:

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